
PER CURIAM.
The State appeals the trial court’s order granting Joseph Michael Clifton’s motion to suppress evidence and statements. We have jurisdiction. See Fla. R.App. P. 9.140(c)(B)(l). We reverse the trial court’s order pursuant to our decision in State v. Mitchell, 124 So.3d 1046 (Fla. 2d DCA 2013) (holding that defendants lack standing to seek suppression relating to jurisdictional defects of coconspirator’s arrest where they had no legally cognizable privacy interest in fraudulent prescriptions and evidence developed therefrom), and remand the case to the trial court for further proceedings.
Reversed and remanded.
ALTENBERND, NORTHCUTT, and LaROSE, JJ., Concur.
